                       THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION


MICHAEL DAVID SILLS          )
and MARY SILLS,              )
                             )
         Plaintiffs,         )
                             )                      CASE NO. 3:23-cv-00478
v.                           )
                             )                      JUDGE WILLIAM L. CAMPBELL, JR.
                             )                      Magistrate Judge Chip Frensley
SOUTHERN BAPTIST CONVENTION, )
et al.                       )                      JURY TRIAL DEMANDED
                             )
         Defendants.         )


                DEFENDANT LYELL’S RESPONSE TO PLAINTIFFS’
               OBJECTIONS TO REQUEST FOR EXTENSION OF TIME

       Defendant Jennifer Lyell asked for a reasonable extension of time to answer discovery

requests propounded by Plaintiffs Michael David Sills and Mary Sills. This Court has granted the

extension of time (Doc. No. 173). Nevertheless, Plaintiffs have filed their “Objection to, and

Clarification of, Unsupported and/or Disputed Facts Placed in the Record by Defendants Jennifer

Lyell and Southern Baptist Convention” (“Objection”) (Doc. No. 175). Defendant Lyell must

respond to this Objection because it contains inaccurate and misleading statements attempting to

prejudice Ms. Lyell and her counsel before this Court.

       Missing from Plaintiffs’ recitation of the facts is the exchange between Lyell’s and

Plaintiffs’ counsel regarding the initial request for an extension. See emails attached hereto as

Exhibit A. Plaintiffs’ counsel advised that she could not give the full extension that Defendant

Lyell requested (30 days) because she had only given other Defendants an extension until June 7,




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2024. As confirmed in that email exchange, she said she would be willing to consider a longer

extension if it was still needed.

       On June 6, one day before that extension expired, Defendant Lyell’s counsel called

Plaintiffs’ counsel and, pursuant to their prior discussion, requested an additional extension for

two weeks. Defendant’s counsel advised why additional time was needed. Plaintiffs’ counsel

advised that she might be willing to give a ten (10) day extension, but she would have to talk with

others on her team. Defendant’s counsel mentioned the possible need to file a motion for

extension. Defendant’s counsel immediately followed up with an email at 2:41 p.m. that day

confirming the request for additional time. (Exhibit B)

       On June 7, the next day and the day that the original extension was to expire, Plaintiffs’

counsel sent an email to a number of Defendants’ counsel saying, “Several of you have reached

out and left messages for extensions of time on your discovery requests.” The email requested

that each of the Defendants’ counsel send specific requests for extensions and the reasons

therefore. (Exhibit C)

       After receipt of this email requesting specification, with the current time for responding

running out that same day, Defendant Lyell’s counsel called Plaintiffs’ counsel, but was unable to

reach her. (This call was never returned.) Even though Defendant Lyell’s counsel had already

given the requested information to Plaintiffs’ counsel by telephone and email the prior day,

Defendant’s counsel again sent an email (Exhibit D) with their request for an extension at

12:26 p.m.

       Plaintiffs’ counsel did not respond during business hours on the last day of the extension.

Because of the lack of response and the expiring deadline, Defendant Lyell’s counsel had to file a


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Motion for Extension to more fully protect their client’s rights. In this context, at this late date,

Plaintiffs’ counsel’s continued lack of response had the same effect as a refusal. The motion was

hurriedly prepared and filed at the end of the business day on Friday, June 7, 2024 (Doc. No. 171).

There was no responpse to Defendant’s request until 9:17 p.m. that evening—after the motion had

to be filed. (Exhibit E)

        Plaintiffs’ Objection contains several incorrect, misleading statements. It is most certainly

disingenuous and inaccurate for Plaintiffs’ counsel to tell the Court that counsel for Defendant

Lyell “choose not to meet and confer with Plaintiffs’ counsel,” and they have a “blatant disregard

for Court rules.” Objection ¶ 9. As supported by the attached emails, Defendant Lyell’s counsel

spoke with Plaintiffs’ counsel by phone asking for an extension, subsequently sent two emails, and

on the last day for the response, made another attempt to reach Plaintiffs’ counsel by phone to try

again to discuss the requested extension.

        Plaintiffs’ counsel did not respond after the June 6 phone call (saying she would check with

others on her team) or to the email that day and did not return the phone call or make any response

to the email sent (as requested) on June 7 (the last day of the extension) until late that night. This

lack of response by Plaintiffs’ counsel is what necessitated filing the Motion for Extension of Time

at the close of business on Friday, June 7.

        Defendant Lyell’s counsel did not “choose not to meet and confer with Plaintiffs’ counsel.”

They attempted to do so multiple times. It would be more accurate to say that it was Plaintiffs’

counsel who chose not to meet and confer with them. Defendant certified in their Motion for

Extension that ”they have attempted in good faith to resolve the issues, but because of the

approaching deadline [that day] and Plaintiffs’ lack of agreement, this motion must be filed.” That

certification is correct.

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         Undersigned counsel does not wish to get into arguing about what transpired before the

Motion for Extension that has already been granted. This response is necessary, however, because

we take the meet and confer requirement seriously, not merely as a rule, but as a matter of

professionalism. As detailed above, our motion was only filed because Plaintiffs’ counsel declined

to agree to the requested extension and proved to be unwilling or unavailable to have further

discussion prior to the impending deadline.

         Counsel for Defendant Lyell is grateful to the Court for granting this much needed, short

two-week extension. Undersigned counsel submits this Response and the attached documents to

demonstrate that statements in Plaintiffs’ Objections about counsel for Defendant Lyell are not

accurate or well-founded.

                                              Respectfully submitted,

                                              NEAL & HARWELL, PLC


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        I hereby certify that on this the 14th day of June, 2024, the foregoing was served via the
court's electronic filing system on the following counsel of record:

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